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                                         No. 16-5417
                                     (Filed: July 8,2016)                         FILED
                                   NOT FOR PUBLICATION
                                                                                 JUL - I 20t6
                                                                               U.S. COURT OF
                                                                              FEDERAL CLAIMS
 TAQUAN RAHSHE GULLET-EL,

                    Pro Se Plaintiff.




 THE UNITED STATES,

                         Defendant.



                                    ORDER OF DISMISSAL

       Pending before the court is the United States' motion to dismiss and opposition to
plaintifls motion for a temporary restraining order and preliminary injunction.t The
government argues that this court does not have jurisdiction over plaintiffs case and thus




I Pro se plaintiff Taquan Rahshe Gullet-El, who varies the spelling ofhis name, has been charged
in a federal criminal complaint filed in the United States District Court for the Cenhal District of
Califomia with filing a fraudulent tax return in violation of 18 U.S.C. $ 287, and filing a
fraudulent lien and encumbrance on public officials in violation of 18 U.S.C. $ 1521. Def.'s
Mot. 1 (citing United States v. Gullett ,No.2:14-cr-725, Docket No. 1 (C.D. Cal. filed Dec. 19,
2014)). Plaintiff filed a civil complaint in the United States District Court for the Middle District
ofFlorida seeking an injunction to halt the criminal proceeding; the district court dismissed
plaintiffs complaint for lack ofjurisdiction. Gullett-El v. Brown, No.3:16-cv-249, DocketNo.5
(M.D. Fla. filed Mar. 18, 2016). Plaintiff then asked this court to review the dismissal of his
civil case; this court dismissed the complaint for lack ofjurisdiction. Gullett-El v. United States,
No. 16-403C,2016 WL 1605491 (Fed. Cl. Apr.20,2016)' The government states that it has also
filed a civil case against plaintiff in the United States District Court for the District of the District
of Columbia to nullifu and enjoin false lien filings and that case is stayed pending the criminal
case. United States v. Gutlett-El, 1:15-cv-652, Docket No. 1 (D.D.C. filed Apr. 29,2015)
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the case must be dismissed under Rule l2(bxl) of the Rules of the United States Court of
Federal Claims. For the reasons discussed below, the court agrees with the government.2

        Plaintiffs have the burden of establishing this court's jurisdiction by a
preponderance of the evidence. See. e.g., Fid. & Guar. Ins. Underwriters. Inc. v. United
States, 805 F.3d 1082, 1087 (Fed. Cir. 2015) (citing Brandt v. United States, 710 F.3d
1369,1373 (Fed. Cir.20l3); Revnoldsv.Army&AirForceExch. Serv.,846F.2d746,
748 (Fed. Cir. 1988)). Pro se plaintiffs are held to less stringent pleading standards but
must still demonstrate that the court has jurisdiction to hear their claim. See Matthews v.
United States, 750 F.3d 1320, 1322 (Fed. Cir. 2014) (citation omitted).

       Although the court has found it nearly impossible to follow the plaintiff s
complaint and other filings, it is clear that plaintiffhas captioned his case as a suit
involving an admiralty contract.3 The Suits in Admiralty Act,46 U.S.C. $$ 30901-
30918,andthePublicVesselsAct,46U.S.C.$$31101-3lll3,governadmiraltyclaims
against the govemment. These statutes preserve the traditional exclusive jurisdiction of
the federal district courts over admiralty or maritime cases. See also 28 U.S.C. $ 1333
 (providing for federal district court juisdiction as opposed to state court jurisdiction for
 "any civil case of admiralty or maritime jurisdiction"); El-Shifa Pharm. Indus. Co. v.
 United States, 378 F.3d 1346, 1353 (Fed. Cir. 2004) (noting that 28 U.S.C. $ 1333
 "grant[s] exclusive and original jurisdiction to federal district courts over civil cases in
 admiralty and maritime jurisdiction"). The scope of the district courts' admiralty
jurisdiction extends "to contracts that are 'wholly maritime' in nature." Marine Loeistics.
 Inc. v. England, 265 F.3d 1322, 1324 (Fed. Cir. 2001); see also L-3 Servs.. Inc. v. United
 States, 104 Fed. Cl. 30,33 (2012). Therefore, this court lacksjurisdiction to hear
plaintiff s complaint as an action involving admiralty. The court further finds that none
 ofthe other statutory provisions plaintiffcites in his complaint and filings support a
finding ofjurisdiction.

        Because this court lacks jurisdiction, plaintiff s complaint is DISMISSED.4 The
clerk is directed to enterjudgment accordingly.




2                                        have jurisdiction, it does not reach plaintiffs motion for
    Because the court finds that   it does not
a temporary restraining order and preliminary  injunction.
3
  The title of the complaint is "Claimant's Complaint of Libel for Enforcement of Civil Contracts
in Admiralty" and the complaint refers several times to "admiralty civil contracts." Compl. 1-8.
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  Along with the complaint, plaintiff filed a motion for leave to proceed in forma pauperis.
Plaintiff s motion to proceed in forma pauperis is GRANTED for the limited purpose of filing
the comolaint.
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IT IS SO ORDERED.




                                          NAN     B. FIRESTONE
